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                    EXHIBIT B
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From:              Robert.Medina-Garcia@lw.com
To:                Daniel Silverman; Benjamin Brown; Joe Bruckner; Joseph Saveri; Christopher Young; Itak Moradi; Patrick F.
                   Madden; Kevin Rayhill; Michael Dell"Angelo; Kyla Gibboney; Danny Gifford; Joshua P. Davis; Richard A. Koffman;
                   Robert Maysey; Matthew Summers; Paul Bland; Alice Ilie; Susan Leo
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                   bcabranes@paulweiss.com; eaghili@paulweiss.com; jcw@campbellandwilliams.com
Subject:           Johnson et al v. Zuffa, LLC et al; Case No.: 2:21-cv-01189-RFB-BNW
Date:              Wednesday, April 23, 2025 8:03:21 PM


Counsel,

We write in response to your requests relayed during the parties’ April 9, 2025 meet and confer and in
your letter dated April 11, 2025 in connection with the non-parties’ April 2, 2025 responses and
objections to Plaintiffs’ subpoenas. We provide Defendants’ responses below. As we have previously
disclosed, unless otherwise specified below, Zuffa, TKO, and Endeavor consolidate the below responses
for efficiency’s sake and for the sole purpose of responding to Plaintiffs’ individual subpoenas and
questions regarding ESI sources associated with individual subpoena recipients who have worked for
Zuffa, TKO, and/or Endeavor. The agreement to consolidate Zuffa/TKO/Endeavor’s responses
regarding these individuals and their enterprise devices and communication channels is not a waiver or
limitation of any right or previously-lodged objection to the discovery requests made to Zuffa, TKO, or
Endeavor, and does not otherwise impact TKO’s and Endeavor’s separate corporate forms.

        Plaintiffs requested that Zuffa clarify its position regarding whether it has possession, custody,
        or control over certain individuals’ electronic devices and communications therein.
              Zuffa confirms it does not have access to, or possession, custody, and control over,
              individuals’ personal social media accounts and/or communications made from personal
              devices via non-enterprise communication channels, e.g., text messages sent from a
              personal device. Zuffa acknowledges that it has access to and possession, custody, or
              control over enterprise devices (to the extent they exist for particular custodians), e.g.,
              company cell phones, and Zuffa will review and produce any relevant documents from
              such sources. Zuffa also acknowledges that it has access to and possession, custody, or
              control over enterprise communication channels, e.g., company emails or company
              Teams messages (to the extent they exist for particular custodians), and Zuffa will review
              and produce any relevant documents from such sources.

        Plaintiffs requested a list of the digital devices used by the subpoenaed individuals for work
        purposes, and whether they had access and/or used enterprise communication channels
        installed by Defendants.
              Defendants have identified the following corporate devices for the non-parties. For each
              Defendant-issued device listed below, Defendants installed Microsoft Teams. Defendants
              do not have enterprise solutions to manage or back up other non-enterprise
              communication channels, such as SMS, Facebook, WhatsApp, or Instagram. Any personal
              devices with potentially relevant information of current employees are subject to
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        preservation requirements under operative legal hold(s), regardless of whether the
        information exists on a company-issued or personal device. Non-employees have been
        advised of their preservation obligations, and counsel for the individuals is in the process
        of confirming the full scope of potentially relevant ESI sources that are not in Defendants’
        possession, custody, or control. To the extent that we learn of any potentially relevant
        ESI sources in the possession, custody, or control of individuals that is not in Zuffa’s
        possession, custody, or control, we will continue to make all good-faith efforts to collect
        and produce documents from such sources, subject to the parties’ and individuals
        subpoena recipients’ previously-lodged objections.

          Non-         User       Current       Current       Other          Other       Non-
          Party        Status     Enterprise    Enterprise    Current        Devices     Enterprise
                                  Device        Mobile        Enterprise     with        Source(s)
                                  Type          Device &      Devices        Potentially with
                                                Model                        Relevant    Potentially
                                                                             Information Relevant
                                                                                         Data
                                                                                         Identified
          Andrew                                                             Prior cell  cell phone,
          Schleimer               Apple         iPhone 16     Apple          phone       computer
                       ACTIVE     Desktop       Plus          Laptop                     hard drive
          Ariel                                               iPad Pro       Prior cell
          Emanuel                                             (12.9-inch)    phone
                                  Apple         iPhone 16     (6th
                       ACTIVE     Desktop       Pro 1TB       generation)
          Craig                   Windows       iPhone 16                    Prior cell     cell phone
          Borsari      ACTIVE     Desktop       Pro Max                      phone
          Dana                    Windows       iPhone 16                    Prior cell
          White        ACTIVE     Laptop        Pro                          phone
          Grant                                                              Prior cell
          Norris-                 Windows       iPhone 16                    phone
          Jones        ACTIVE     Laptop        Pro Max
          Hunter                                                             Prior cell     cell phone,
          Campbell                Apple         iPhone 15                    phone          computer
                       ACTIVE     Desktop       Pro                                         hard drive
          Ike                                                                Prior cell     cell phone,
          Epstein                                                            phone          paper files,
                                  Windows       iPhone 16                                   computer
                       ACTIVE     Desktop       Pro                                         hard drive
          Jason                                               iPad Pro 13-
          Lublin                  Windows       iPhone 16     inch (2024)
                       ACTIVE     Desktop       Pro Max       2TB
          Marc                    Windows       iPhone 16                    Prior cell
          Ratner       ACTIVE     Desktop       Pro Max                      phone
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                Mark                                         iPad Pro      Prior cell
                Shapiro              Apple       iPhone 16   12.9 4th      phone
                            ACTIVE   Desktop     Pro 1TB     Gen 256GB
                Mick                 Apple                                 Prior cell    cell phone
                Maynard     ACTIVE   Laptop      None                      phone
                Patrick                                      iPad Pro
                Whitesell                        iPhone 16   12.9-inch
                                     Windows     Pro Max     (6th
                            ACTIVE   Desktop     1TB         Generation)
                Peter                Windows     iPhone 16                 Prior cell    cell phone
                Dropick     ACTIVE   Desktop     Pro Max                   phone
                Sean                 Apple                                 Prior cell    cell phone
                Shelby      ACTIVE   Laptop      None                      phone
                Seth                             iPhone 15   iPad Pro
                Krauss               Apple       Pro Max     12.9 4th
                            ACTIVE   Laptop      512TB       Gen 256GB
                Tracy                Windows                               Prior cell    cell phone
                Long        ACTIVE   Desktop     None                      phone

Best,
Robert

Robert Medina

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